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May 20, 2020

BY ECF
The Honorable Loretta A. Preska
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re: United States v. Steven Donziger, 19 CR 561 (LAP); 11 CR 691 (LAK)

Dear Judge Preska:

                I spoke yesterday (Tuesday) with Pretrial Services Officer Lea Harmon and
proposed that Mr. Donziger be permitted to leave his apartment every day from 4:00 to 6:00
p.m. without advance permission, provided he remain on the Upper West Side between 96th
and 116th Streets. I proposed to Officer Harmon that we implement this condition for seven
days on a trial basis and check in with her at that point before continuing with it; if an issue
arises for Ms. Harmon, we will so advise the Court. This daily two hours will permit Mr.
Donziger to shop and otherwise be outside with his son, who does not have school or his
usual opportunities to see his friends. Mr. Donziger would otherwise remain free to request
approval from Pretrial Services for other departures from home, for example but not limited
to, meeting with his counsel.

               Officer Harmon does not oppose this proposal. Officer Harmon advised me
that Ms. Glavin called her on Monday after our teleconference, and that she told Ms. Glavin
that she does not oppose Mr. Donziger leaving his apartment for a few hours every day. Upon
soliciting Ms. Glavin’s position on this proposal yesterday via email, she responded that she
wanted to discuss it with Pretrial Services.

                 I respectfully request that the Court approve the proposal forthwith.

                                               Respectfully submitted,

                                               /s/
                                               Andrew J. Frisch

cc: Rita Glavin
